Case 1:00-cv-00048-JHM Document 309 Filed 03/17/06 Page 1 of 6 PageID #: 3475
Case 1:00-cv-00048-JHM Document 309 Filed 03/17/06 Page 2 of 6 PageID #: 3476
Case 1:00-cv-00048-JHM Document 309 Filed 03/17/06 Page 3 of 6 PageID #: 3477
Case 1:00-cv-00048-JHM Document 309 Filed 03/17/06 Page 4 of 6 PageID #: 3478
 Case 1:00-cv-00048-JHM Document 309 Filed 03/17/06 Page 5 of 6 PageID #: 3479




                                                            March 17, 2006

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Case 1:00-cv-00048-JHM Document 309 Filed 03/17/06 Page 6 of 6 PageID #: 3480
